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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

    IN RE: ZANTAC (RANITIDINE)                                                        MDL NO. 2924
    PRODUCTS LIABILITY LITIGATION                                                       20-MD-2924

                                                                          Judge Robin L. Rosenberg
    __________________________________/                           Magistrate Judge Bruce E. Reinhart


   THIS DOCUMENT RELATES TO: ALL CASES


              NOTICE OF AGREED UPON DEFENDANTS’ LIAISON COUNSEL

          In accordance with the Court’s Pretrial Order #1, the undersigned counsel hereby give

   notice that counsel for Defendants have reached consensus as to the selection of Joanne M.

   O’Connor to serve as the Defendants’ Liaison Counsel and respectfully request the Court to enter

   an order appointing Ms. O’Connor.

          Ms. O’Connor is a partner at the law firm of Jones Foster P.A., where she has practiced for

   nearly 20 years. She clerked for the Hon. Sarah S. Vance, U.S. District Judge for the Eastern

   District of Louisiana and former Chair of the Judicial Panel on Multidistrict Litigation after

   graduating summa cum laude from Tulane University School of Law. Ms. O’Connor is board

   certified in business litigation by The Florida Bar.

          Ms. O’Connor routinely defends complex litigation pending in federal courts throughout

   the State of Florida. Recent experience before the Southern District of Florida includes defending

   a half dozen foreign toxicology laboratory defendants, as well as their general partners and officers,

   against RICO and fraud claims brought by the largest for-profit managed health care company in

   the world and seeking in excess of $50 million. That suit involved extensive coordination and

   communication with separately represented groups of defendants. Ms. O’Connor has also
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   defended significant putative class actions in both Florida federal and state courts. Her prior

   products liability experience includes representing a marketing defendant in Oxycontin litigation.

          The law firm of Jones Foster has prior experience in multidistrict litigation in the Southern

   District, having served for many years as defense counsel In Re: Chiquita Brands International,

   Inc., MDL, Case No. 08-MD-1916.

          Ms. O’Connor regularly serves as local counsel, working collaboratively and effectively

   with national law firms, defending Fortune 500 and other publicly held companies and their

   officers and directors in high-stakes litigation pending in Florida federal and state courts. Ms.

   O’Connor and/or her partners at Jones Foster have previously served as local counsel to, and

   developed trusted relationships with, many of the law firms representing defendants in this action.

          Ms. O’Connor has been selected to positions of leadership within the Southern District of

   Florida, serving on its Magistrate Judge Merit Selection Panel in 2016-2017 and as the President

   of the Federal Bar Association, Palm Beach County Chapter for 2019-2020.

          Ms. O’Connor has the full support of her firm to serve as Defendants’ Liaison and is the

   consensus choice of counsel for Defendants in the MDL. As such, the undersigned respectfully

   requests the Court appoint Ms. O’Connor as Defendants’ Liaison Counsel. If appointed, Ms.

   O’Connor and Jones Foster will focus on fulfilling the important administrative role of liaison

   counsel and not seek an additional leadership position.




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   Dated: March 6, 2020                     Respectfully submitted,


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                                  CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing was electronically filed via

   the Court’s CM/ECF system, and served via email to all attorneys set forth on the “Panel Service

   List.” [Dkt. 13, Ex. B.]

   Dated: March 6, 2020                        By: /s/ Joanne M. O’ Connor
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